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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  JERAD GRIMES,                               )
  and GEORGIA EMILY EDMONDSON                 )
  on behalf of themselves and all others      )
  similarly situated,                         )
                                              )
                  Plaintiffs,                 )
                                              )
  v.                                          )       Case No. 1:21-cv-2367-RLY-DLP
                                              )
  ELI LILLY AND COMPANY, a                    )
  Domestic For-Profit Corporation             )
  And LILLY USA, LLC, a Domestic              )
  Limited Liability Company,                  )
                                              )
                  Defendants.                 )

                                     [PROPOSED] ORDER

         This matter comes before the Court on the Parties’ Second Joint Motion for Extension of

 Time, Dkt. 52. The Court, being duly advised, GRANTS said Motion. Defendants shall file their

 opposition to Plaintiffs’ Motion to Conditionally Certify Collective Action and Facilitate Notice

 to Potential Class Members on or before October 14, 2022. The deadline for Plaintiffs to file a

 reply in support of said motion is extended to and including November 3, 2022. The deadline for

 conditional and class certification discovery is extended to and including December 16, 2022.

 So ORDERED.

 Dated: August ___, 2022
                                             _____________________________
                                             Doris L. Pryor
                                             United States Magistrate Judge
                                             Southern District of Indiana

 Distribution:

 All ECF-registered counsel of record via email
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